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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 AMARILLO DIVISION
                        _____________________________________

PANHANDLE EASTERN PIPE LINE
COMPANY, LP,

        Plaintiff,                               Civil Action No. 2:25-cv-23-Z

v.

PIPELINE AND HAZARDOUS
MATERIALS SAFETY
ADMINISTRATION, et al.,

        Defendants.

                              MOTION TO DISMISS AS MOOT

        Plaintiff filed a civil suit seeking to enjoin a Department of Transportation (DOT)

administrative proceeding concerning a fatal gas pipeline incident that occurred at its

facilities near Meade, Kansas. That administrative proceeding has been discontinued,

and the United States has elected to pursue the matter though a civil enforcement action

in Dallas (as Plaintiff acknowledges would be appropriate). Moreover, DOT has

published new guidance on its internal enforcement actions that addresses many of the

due process concerns Plaintiff complains of here. This action is therefore moot. As

Plaintiff has received the relief sought in its complaint, Defendants now move to dismiss

this action as moot.




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                                       BACKGROUND

        Plaintiff is an operator of a gas pipeline. Compl. ¶ 2, ECF No. 1. On March 26,

2020, one of Plaintiff’s employees was fatally injured while working at Plaintiff’s

Borchers Station near Meade, Kansas. Id. ¶¶ 33-34. The Pipeline and Hazardous

Materials Safety Administration (PHMSA), an agency of DOT, initiated an

administrative enforcement proceeding concerning the fatal incident, and determined that

Plaintiff had committed probable violations of the pipeline safety regulations. Id. ¶ 35.

        Plaintiff then filed this action on January 27, 2025, seeking to enjoin PHMSA’s

enforcement proceeding. Plaintiff first contends that that PHMSA’s enforcement

proceeding violates its right to a trial by jury under the Seventh Amendment. Id. ¶¶ 64-

74. Plaintiff also claims that PHMSA’s enforcement proceeding was the result of an

unconstitutional delegation of legislative power. Id. ¶¶ 75-82.

        In its prayer for relief, Plaintiff prayed for a stay or an injunction barring the

continuation of PHMSA’s enforcement proceeding and for a declaratory judgment that

that the Pipeline Safety Act’s administrative enforcement provisions are unconstitutional.

Id. at 26.

        Since the time Plaintiff filed this action, PHMSA has terminated the enforcement

proceeding, and the United States has instead elected to pursue appropriate relief though

a civil enforcement action in federal district court. See United States v. Panhandle E.

Pipe Line Co., LP, Case No. 3:25-cv-1001-G (N.D. Tex.).

        Moreover, DOT has also since published a memorandum concerning its

administrative enforcement proceedings. See Memorandum from Gregory D. Cote,


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Acting General Counsel, Dep’t of Transp. (March 11, 2025).1 The memorandum

“clarifies the procedural requirements governing” DOT enforcement actions with the

purpose of ensuring that such actions “satisfy principles of due process and remain

lawful, reasonable, and consistent with Administration policy.” Id. The memorandum

reaffirms DOT’s policy “to provide affected parties appropriate due process in all

enforcement actions” and outlines procedures on, among other things, avoiding bias,

handling ex parte communications, and affirmatively disclosing exculpatory evidence.

See id.

                                     LEGAL STANDARD

          Federal jurisdiction requires a live case or controversy at every stage of litigation.

See U.S. Const. art. III, § 2, cl. 1; Hollingsworth v. Perry, 570 U.S. 693, 704-05 (2013).

Federal courts cannot give opinions on “moot questions or abstract propositions.” North

Carolina v. Rice, 404 U.S. 244, 246 (1971). Instead, to invoke federal jurisdiction, a

litigant must have suffered or be threatened with an actual injury that is both traceable to

the defendant “and likely to be redressed by a favorable judicial decision.” Lewis v.

Cont’l Bank Corp., 494 U.S. 472, 477 (1990). “The question when assessing whether a

case is moot is whether any effective relief can be granted.” Ctr. for Biological Diversity,

Inc. v. BP Am. Prod. Co., 704 F.3d 413, 431 (5th Cir. 2013). “If a dispute has been

resolved or if it has evanesced because of changed circumstances . . . it is considered

moot.” Am. Med. Ass’n v. Bowen, 857 F.2d 267, 270 (5th Cir. 1988). Where the


1
 Available at https://www.transportation.gov/sites/dot.gov/files/2025-
03/Procedural%20Requirements%20for%20DOT%20Enforcement%20Actions.Cote%20Memo.Signed.03-11-
2025.pdf (last accessed Apr. 22, 2025).


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question of mootness arises, the Court must resolve it before it can assume jurisdiction.

Rice, 404 U.S. at 246. If a controversy is moot, the trial court lacks subject matter

jurisdiction over it. Carr v. Saucier, 582 F.2d 14, 15-16 (5th Cir. 1978). And if a court

determines at any point during a case that it lacks subject-matter jurisdiction, the court

must dismiss the action. See Fed. R. Civ. P. 12(h)(3).

                             ARGUMENT AND AUTHORITIES

        Plaintiff filed suit principally “to prevent PHMSA from continuing” its

enforcement proceeding. Compl. ¶ 1. PHMSA has since terminated that proceeding.

Plaintiff also insisted that the proper forum for the enforcement action was an “Article III

Court” in the “Dallas Division where [Plaintiff] and its parent both have their principal

places of business.” Compl. ¶ 1. The United States has initiated a civil enforcement

action in that division. In essence, Plaintiff has obtained its requested relief. Because

there is no longer any live case or controversy for this Court to decide, the entire action

should be dismissed as moot.

        Given that PHMSA has terminated its enforcement proceeding, the declaratory

and injunctive relief Plaintiff seeks “would have no immediate effect in this case.” Am.

Med. Ass’n, 857 F.2d at 271. That is sufficient to show that the dispute is moot. After

all, any relief the Court could grant would have no practical significance, and any

injunctive order to discontinue the already-terminated proceeding “would be useless.”

See Ctr. for Biological Diversity, 704 F.3d at 425. These intervening circumstances

render the “the court no longer capable of providing meaningful relief,” so “[m]ootness

applies.” Id. (citation omitted).


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        In any event, the Court need not definitively resolve whether the matter is moot as

a matter of Article III because the case, at minimum, has become prudentially moot.

Even if a matter is not constitutionally moot, considerations of prudence sometimes

caution against the exercise of a court’s equitable powers. “[I]f events so overtake a

lawsuit that the anticipated benefits of a remedial decree no longer justify the trouble of

deciding the case on the merits, equity may demand not decision but dismissal.” Winzler

v. Toyota Motor Sales, USA, Inc., 681 F.3d 1208, 1210 (10th Cir. 2012) (Gorsuch, J.).

This doctrine has “particular applicability” when a plaintiff seeks “an injunction against

the government.” Id. (citation and internal quotation marks omitted).

        The prudential mootness doctrine applies when the plaintiff seeks an order

“forcing a department to take an action that it eventually agrees to take voluntarily.” Id.

That is precisely the situation here. Plaintiff sought a court order to terminate the

PHMSA administrative enforcement proceeding, but PHMSA has already done that

voluntarily. Because the Court can no longer fashion an “effective remedy” in this

context, it need not “decid[e] on the merits a difficult and sensitive constitutional issue

whose essence has been at least substantially altered by supervening events.” See United

States v. (Under Seal), 757 F.2d 600, 603 (4th Cir. 1985).

                                      CONCLUSION

        For these reasons, the Court should dismiss the action as moot.




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                                              Respectfully submitted,
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                                 CERTIFICATE OF SERVICE

        On April 22, 2025, I electronically submitted the foregoing document with the

clerk of court for the U.S. District Court, Northern District of Texas, using the electronic

case filing system of the court.

                                                  /s/ Saurabh Sharad
                                                  Saurabh Sharad
                                                  Assistant United States Attorney




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